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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF FLORIDA
                          TALLAHASSEE DIVISION

UNITED STATES OF AMERICA

vs.                                              CASE NO.: 4:06-CR-020-SPM

PAUL ALLEN,

           Defendant.
__________________________________/

                      ORDER CONTINUING SENTENCING

       THIS CAUSE comes before the Court upon the “Motion to Continue

Sentencing” (doc. 126) filed September 7, 2006, in which Defendant requests a

continuance so that he may testify at the trial of Calvin White, currently

scheduled for October 16, 2006. The Government offers no objection to the

granting of the motion.

       Finding the request to be reasonable, it is thus

       ORDERED AND ADJUDGED as follows:

       1.     Defendant’s Motion for Continuance (doc. 126) is hereby granted.

       2.     Sentencing is reset for Monday, October 16, 2006 at 1:30pm at

              the United States Courthouse in Tallahassee, Florida.

       DONE AND ORDERED this eleventh day of September, 2006.


                                      s/ Stephan P. Mickle
                                   Stephan P. Mickle
                                   United States District Judge
